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                                                                          Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )       Hearing Requested
                                          )
       Defendant.                         )

 MOTION TO STRIKE NON-STATUTORY AGGRAVATING FACTOR OF “LACK OF
       REMORSE” AS DUPLICATIVE OF “FUTURE DANGEROUSNESS”

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion to Strike the Non-Statutory Aggravating Factor of “Lack

of Remorse” as Duplicative of Future Dangerousness states as follows:

I.     Procedural History

       On July 12, 2017, Defendant BRENDT A. CHRISTENSEN was charged by

Indictment with one count of kidnapping in violation of 18 U.S.C. § 1201(a)(1). (R. 13) A

Superseding Indictment was filed on October 3, 2017, alleging one count of kidnapping

resulting in death in violation of 18 U.S.C. § 1201(a)(1) and two counts of false

statements in violation of 18 U.S.C. § 1001(a)(2). The Superseding Indictment also

contained a Notice of Special Findings listing four gateway intent factors under 18

U.S.C. § 3591(a)(2) and three statutory aggravating factors under 18 U.S.C. § 3592(c):

that Y.Z.’s death occurred during the commission of a kidnapping (Section 3592(c)(1));

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that the defendant committed the offense in an especially heinous, cruel or depraved

manner (Section 3592(c)(6)); and that the defendant committed the offense after

substantial planning and premeditation (Section 3592(c)(9)). (R. 26)

       Count 1 of the Superseding Indictment was a death-eligible charge, and on

January 19, 2018, the government filed its Notice of Intent to seek the death penalty

(NOI). (R. 54) The NOI re-alleged the four intent factors as well as the three statutory

aggravating factors contained in the Superseding Indictment, and added six non-

statutory aggravating factors: victim impact evidence, future dangerousness, lack of

remorse, other serious acts of violence, vulnerable victim, and obstruction of justice. (R.

54)

II.    Argument

       In the present case, the non-statutory aggravating factors of “lack of remorse”

and “other serious acts of violence” are duplicative of subparts of the non-statutory

aggravating factor of “future dangerousness.” They are cumulative, and overlap

substantially enough that both factors should be stricken from the NOI. The body of the

NOI (R. 54) alleges the factors as follows:

              2. Future dangerousness of the defendant. The defendant is
              likely to commit criminal acts of violence in the future that
              would constitute a continuing and serious threat to the lives
              and safety of others, as evidenced by, at least, his
              demonstrated lack of remorse for his acts of violence; his
              other serious acts of violence; his expressed desire
              to be known as a killer; and his claims of additional victims
              and expertise in avoiding detection.


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              3. Lack of remorse. The defendant has demonstrated, by
              statements he made following the offense, that he lacked
              remorse for the kidnapping resulting in the death of Y.Z.

       In United States v. McCullah, 76 F.3d 1087, 1111 (10th Cir. 1996), the court of

appeals held that the district court erred in submitting cumulative aggravating factors

to the jury. In that case, the district court submitted to the jury the statutory aggravating

factor of “intentionally engaged in conduct intending that the victim be killed or that

lethal force be employed against the victim, which resulted in death of the victim,” and

the non-statutory aggravating factor, “committed the offenses as to which he is charged

in the indictment.” Id. The court noted that in order for the jury to find that the

defendant committed the offenses charged, it must necessarily have found that he

intentionally caused the death. Id. In other words, the factors “substantially overlap”

with one another such that if one was proven, so was the other. Id. Additionally, the

district court submitted the statutory aggravating factors of “intentionally engages in

conduct which he knows creates a grave risk of death and that such death results” and

“intentional conduct intending that the victim be killed.” Id. Although not “identical per

se,” the first factor wholly subsumed the second. Id.

       The Tenth Circuit found that considering aggravating factors which overlap or

subsume one another, especially under a weighing scheme where the jury is responsible

for weighing the aggravating factors against the mitigating factors, was impermissible

double counting. Id. Additional aggravating factors have “a tendency to skew the

weighing process and creates the risk that the death sentence will be imposed

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arbitrarily and thus, unconstitutionally.” Id. (citing Stringer v. Black, 503 U.S. 222, 230–32

(1992)). It is akin to creating a situation where the “defendant is essentially condemned

‘twice for the same culpable act,’” which is inherently unfair. Id. at 1111-12 (citing

Parsons v. Barnes, 871 P.2d 516, 529 (Utah 1994) (quoting Cook v. State, 369 So.2d 1251,

1256 (Ala. 1979)). “When the sentencing body is asked to weigh a factor twice in its

decision, a reviewing court cannot ‘assume it would have made no difference if the

thumb had been removed from death's side of the scale.’” Id. at 1112 (quoting Stringer,

503 U.S. at 232). The 4th Circuit cited McCullah with approval in United States v. Tipton,

90 F.3d 861, 895 (4th Cir. 1996), although it eventually found that the error of submitting

duplicative aggravating factors was harmless under the specific circumstances of that

case.

        The question of improper double counting of aggravating factors was raised in

Jones v. United States, 527 U.S. 373, 398-401 (1999), but the Supreme Court did not reach a

conclusion, splitting 4-4 on the issue. Justice Thomas wrote for himself and three others,

stating that the Supreme Court had never condoned McCullah’s approach before, but it

was irrelevant in Jones because the factors at issue in that case were not duplicative. Id.

at 399-400.

        The Supreme Court has not taken up the issue since Jones, but several federal

courts both before and after the Jones decision have done so. There is a split among the

circuits as to whether or not the holding of McCullah is proper. Disagreeing with the

10th and 4th Circuits, the 5th and 8th Circuits have held that there is no constitutional

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infirmity even when duplicative aggravating factors have been alleged. United States v.

Purkey, 428 F.3d 738, 762 (8th Cir. 2005); United States v. Robinson, 367 F.3d 278, 292-93

(5th Cir. 2004). However, those cases engaged in virtually no analysis as to how the

presence of two substantially similar aggravating factors could affect the jury’s

weighing process in determining whether a sentence of death is appropriate.

       Courts that have fully examined the issue have come down on the side of

striking duplicative aggravators. For example, in Allen v. Woodford, 395 F.3d 979, 1012

(9th Cir. 2005), the court considered the propriety of presenting the same facts as part of

three different aggravators under California’s capital punishment statute, a weighing

scheme similar to the FDPA. The court noted that when “considered individually,

aggravating factors (a), (b), and (c) are each valid…Here, however, the trial court's

instructions and the prosecutor's argument together encouraged the jury to consider

Allen's prior criminal activities under all of the above three factors. These aggravating

factors were thus effectively subsumed within each other.” Id. The court then referenced

McCullah’s holding positively, and found that Jones did not apply at all because in Jones,

the Supreme Court did not resolve the question. Id. Even though the 9th Circuit

ultimately found the error to be harmless, it agreed with the 10th Circuit that “’such

double counting of aggravating factors, especially under a weighing scheme, has a

tendency to skew the weighing process and creates the risk that the death sentence will

be imposed arbitrarily and thus, unconstitutionally.... [W]hen the same aggravating



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factor is counted twice, the defendant is essentially condemned twice for the same

culpable act, which is inherently unfair.’” Id. at 1012(quoting McCullah, 76 F.3d at 1111).

       A plethora of district courts have adopted the 10th Circuit’s approach in

McCullah and stricken aggravating factors that were duplicative of or wholly subsumed

by another aggravating factor. In United States v. Johnson, 136 F. Supp. 2d 553, 561 (W.D.

Va. 2001), the non-statutory aggravating factors of “death of the fetus” and “the

defendant terminated the victim’s pregnancy” were held to be impermissibly

duplicative. Reiterating the reasoning from McCullah, the district court stated that “the

double-counting of aggravating factors ‘has a tendency to skew the weighing process

and creates the risk that the death” penalty will be arbitrarily imposed. Id. Similar

results can be noted in other cases. See United States v. Bin-Laden, 126 F. Supp. 2d 290,

299 (S.D.N.Y. 2001) (considering the non-statutory aggravating factor of “serious injury

to surviving victims” to be wholly subsumed by the non-statutory aggravating factor of

“victim impact evidence,” and holding that an aggravating factor that is necessarily and

wholly subsumed by a different aggravator within the same death penalty notice is

invalid per se and should not be submitted to the penalty jury for sentencing

consideration).

       In addition, many other district courts have specifically considered the

interaction between two of the aggravating factors at issue here, namely “future

dangerousness” and “lack of remorse.” In general, courts disapprove of allowing both

factors to be listed as independent aggravators. When lack of remorse is specifically

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listed as a subfactor under the future dangerousness aggravator, it should not be

considered independently as a separate and additional aggravator. See United States v.

Umana, 707 F.Supp.2d 621, 636 (W.D.N.C. 2010) (allowing lack of remorse as a subfactor

of future dangerousness); United States v. Johnson, 2009 WL 1856240 *12 (E.D. Mich.)

(where defendant challenged lack of remorse as ambiguous, court noted that “[T]he fact

that the Government has not alleged “future dangerousness” as a separate factor does

not preclude alleging lack of remorse. Indeed, it appears to the court that alleging both

would be duplicative, and threaten an unconstitutional skewing of the jury's weighing

process.”); United States v. Watson, 2007 WL 4591860 *2 (E.D. Mich.) (“the Government

can rely on ‘lack of remorse’ to prove future dangerousness.”); United States v. Davis,

912 F. Supp. 938, 946 (E.D. La. 1996) (holding that “lack of remorse” cannot be alleged as

an independent aggravating factor, but can be information probative of the defendant’s

future dangerousness”); United States v. Cooper, 91 F. Supp. 2d 90, 113 (D.D.C. 2000)

(allowing lack of remorse as a sub-part of future dangerousness, but not as a stand-

alone aggravating factor).

III.   Conclusion

       In the government NOI, the phrase “lack of remorse” is explicitly listed as a

subpart of “future dangerousness.” (R. 54) Allowing the jury to consider those factors

twice adds more weight to the government’s side of the scale, and cannot be permitted.

       WHEREFORE, Defendant requests that this Court strike the non-statutory

aggravating factor of “lack of remorse” from the Notice of Intent.

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     Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

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